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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION


 SHANNON CORBETT                              §
            Plaintiff,                        §
 v.                                           §
                                              §                  CASE NO. 5:21-cv-281
 TEXAS TECH UNIVERSITY                        §
 HEALTH SCIENCES CENTER                       §
             Defendant.                       §


                      DEFENDANT’S NOTICE OF RELATED CASE


TO THE HONORABLE U.S. DISTRICT JUDGE:

       Pursuant to Local Civil Rule 3.3(a), Defendant Texas Tech University Health Sciences

Center provides this notice of related case and shows the Court the following:

       Case style and civil action number: Shannon Corbett v. Texas Tech University Health

Sciences Center, In the United States District Court for the Northern District of Texas, Lubbock

Division, Civil Action No. 5:21-xc-00227.

       Presiding Judge: None indicated on the civil docket sheet.

       Status: This case was filed on October 12, 2021 and abandoned on October 13, 2021.

       There are no further pleadings or orders indicated on the civil docket sheet.

                                     Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General

                                     GRANT DORFMAN
                                     Deputy First Assistant Attorney General



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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document was served via PACER

electronic notification on this 16th day of November, 2021, on:

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                                                /s/ Yvonne D. Bennett
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